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UNITED STATES DISTRICT COURT © Uh
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION uy SEP 120 PEO

LISA KESNER,

 

Plaintiff,
CASE NO, 01-71994
v. HON DAWRENCE POZA OFF
LITTLE CAESARS ENTERPRISES, INC.,
a Michigan corporation, OLYMPIA AVIATION,
L.L.C., a Michigan limited liability company,
OLYMPIA ENTERTAINMENT, INC., a Michigan
corporation, DETROIT TIGERS, INC., a Michigan
corporation, and M&M ILITCH HOLDINGS,
INC., a Michigan corporation, jointly and severally,

Defendants.
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OPINION AND ORDER

AT A SESSION of said Court, held in the United States Courthouse,
in the City of Detroit, State of Michigan, on

12 SEP 2003

PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
CHIEF UNITED STATES DISTRICT JUDGE

I. INTRODUCTION
This matter is before the Court on Defendant Olympia Aviations [sic] Renewed Motion for
Directed Verdict, Motion for JNOV and Motion for Remitter [sic] and Motion for New Trial. This
matter is also before the Court on Plaintiffs Motion for Attorneys’ Feces, Costs and Interest,
Plaintiff's Supplement to Plaintiff's Motion for Attorneys’ Fees, Costs, and Interest, and Plaintiffs
Motion to Strike Defendants’ [sic] Untimely “Second Supplemental Brief’ in Support of its Post
Trial Motions. All motions have been bricfed. The Court finds that the parties have adequately set

forth the relevant law and facts, and that oral argument would not aid in the disposition of the instant

 
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motions. See E.D. MicH. LR 7.1(c)(2). Accordingly, the Court ORDERS that the motions be
decided on the bricfs submitted. For the reasons set forth herein, Defendant Olympia Aviations [sic]
Renewed Motion for Directed Verdict, Motion for JNOV and Motion for Remitter [sic] and Motion
for New Trial is DENIED; Plaintiff's Motion for Attorncys’ Fees, Costs and Interest is GRANTED
IN PART, and Plaintiff's Motion to Strike Defendants’ [sic] Untimely “Second Supplemental Bricf”

in Support of its Post Trial Motions is DENIED.

Il. BACKGROUND

Plaintiff filed a six-count complaint on April 30, 2001, in which she named the five corporate
entities listed in the caption as Defendants. In brief, Plaintiffalleges that she was formerly cmployed
by Defendant Olympia Aviation, and worked as a flight attendant on the Detroit Tigers’ team
airplane. She alleges that while she was employed, members of the baseball team, as well as the
other members of the flight crew, had harassed her and created a hostile work environment. She
alleges that she repeatedly complained to her supervisors about this conduct, however, her
supervisors did not remedy the situation.

On June 13, 2002, the Court issued an Opinion and Order partially granting Defendants’
motion for summary judgment and dismissing all of Plaintiffs claims except for one claim of Sexual
Harassment against Defendant Olympia Aviation. A trial was conducted on that count beginning
on February 4, 2003, and concluding on February 13, 2003. The jury awarded a verdict in favor of
Plaintiff in the following amounts:

Economic damages: $75,000.00;

Present non-economic damages: $75,000.00;
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Future non-economic damages: $50,000.00.

On March 13, 2003, Defendant filed the present motion challenging cach award of damages,
as well as the overall sufficiency of the evidence supporting the verdict. Defendant brings this
motion pursuant to FED. R. Civ. P. 50 and Feb. R. Civ. P. 60. On March 26, 2003, Plaintiff filed a
motion for Attorneys’ Fees, Costs, and Interest. On June 3, 2003, the Court issued an order granting
Defendant’s motion for a new trial. On July 1, 2003, the Court granted Plaintiffs motion for
reconsideration, and reinstated the judgment. Plaintiff filed her supplement to her motion for an
award of attorneys’ fees on July 22, 2003 and Defendant filed a response,

The Court never ruled upon Defendant’s arguments challenging cach award of damages, nor
did it rule upon Plaintiff's motion. The Court shall now analyze cach argument in the most logical

order.

II. ANALYSIS—DEFENDANT’S MOTION—REMAINING ARGUMENTS

The Court has already addressed Defendant’s arguments that Plaintiffsubmitted insufficient
evidence to support the jury’s verdict that Plaintiffworked in a hostile work environment. The Court
ultimately held that there was sufficient evidence to support the jury’s verdict, and therefore rejects
Defendant’s argument regarding insufficient evidence. In its motion, in addition to asking for
judgment notwithstanding verdict or a new trial, Defendant also asks that the Court remit the award
that Plaintiffreccived. Defendant contests cach element ofthe jury’s award. The Court shall discuss
cach element in turn.

A. Future non-economic damages

Defendant argues that Plaintiff is not entitled to an award of future non-cconomic damages

 
 

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because she did not present evidence of her life expectancy. Defendant argucs that there must be
evidence of future non-economic damages, otherwise the jury would have to speculate as to how
long Plaintiff will live and suffer damages. Defendant, however, cites no legal authority for this
proposition. Converscly, Plaintiff argues that, under the Michigan Elliott-Larsen Civil Rights Act
(hereinafter “ELCRA”), Plaintiff need not present any evidence of life expectancy to obtain future
damages.

Plaintiffhas the better argument. Under the ELCRA, the Court should not set aside a jury’s
damage award unless the award was excessive. See Howard v. Canteen Corp., 481 N.W.2d718, 724
(Mich. Ct. App. 1991) (overruled on other grounds). The Court does not find the jury’s award to be
excessive; the jury heard Plaintiff's testimony about the humiliation that she suffered while working
for Defendant, and was able to observe that she was a relatively healthy looking woman who was
under forty years old. The jury determined that an award of $50,000 was a reasonable amount to
compensate her, and the Court cannot say that $50,000 is an unreasonable or excessive award.
Therefore, the Court shall not grant Defendant’s motion to remit the jury award for future damages.

B. Non-Economic Damages

Defendant argues that Plaintiff offered no evidence from “a psychiatrist, a psychologist, a
social worker, a priest or other clergy, or even a counselor,” and consequently, has not presented
sufficient evidence for an award ofnon-cconomic damages. Defendant cites two Sixth Circuit cases,
Moody v. Pepsi-Cola Metro. Bottling Co., Inc.,915 F.2d 201 (6th Cir. 1990), and Wiskotoni v. Mich.
Nat'l Bank-W., 716 F.2d 378 (6th Cir. 1983), for the proposition that a plaintiff must “specific and
definite evidence” of mental anguish or distress. See Moody, 915 F.2d at 210 (quoting Wisketoni,

716 F.2d at 389). In discussing Moody, Defendant points out that the plaintiff in Moody was so
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distraught that he cried, that he moved his family, and that his marriage was affected by the
defendant’s conduct. See Moody, 915 F.2d at 210, Defendant argues that Plaintiff did not go
through the same level of torment that the plaintiff did in Moody.

Defendant’s argument, however, fails. Defendant concedes that expert testimony is not
necessary to support a claim for mental anguish or humiliation. See id., (“Michigan law allows
recovery for mental anguish based on Plaintiff’s own testimony. . . .”); see also Riethmiller v. Blue
Cross & Blue Shield of Mich., 390 N.W.2d 227, 233 (Mich. Ct. App. 1986) (“To the extent the court
meant that medical testimony was required to establish a claim for mental distress, the court clearly
erred.”), The Court also notes that the jury heard Plaintiff's testimony, and that Plaintiff provided
“definite and specific evidence” of mental anguish and humiliation. Plaintiff, for instance, stated
that she felt degraded upon secing the pornography and being asked about “cooter pic,” she stated
that she felt degraded when she was called a “bitch” or a “cunt,” and she stated that, after she was
yelled at for confronting a bascball player about smoking marijuana on the team airplane, she was
so distraught that she could no longer perform her work on that flight. Therefore, the Court shall not
grant Defendant’s motion to remit the jury award for non-economic damages.

Cc. Economic Damages

Defendant next argues that Plaintiff's claim for cconomic damages must fail. Defendant
points to the Court’s June 13, 2002, Opinion and Order, which was issued in response to Defendant’s
Motion for Summary Judgment, and argues that Plaintiffs claims for retaliation and scx
discrimination were dismissed, thus climinating any potential claim for economic damages that
Plaintiff may have had. In particular, in response to Defendant’s motion for summary judgment,

Plaintiff argued that after she met with Mr. Oumedian, and complained to Mr. Oumcedian of the
 

 

harassment that she was enduring, Mr. Christopher Ilitch, the co-president of Ilitch Holdings,

realized the potential for legal liability that his companics were facing. In response, Ilitch Holdings
chose to remedy the situation by hastily “outsourcing” all of Olympia Aviation’s flight operations
to Mr. Chuck Shipp, who performed all flight operations for the Detroit Pistons. Plaintiffargues that
Mr. Shipp uses the same airplanes that Olympia Aviation used, and that he hired all of Olympia
Aviation’s former employecs except Plaintiff.' Thus, there is sufficient evidence of economic
damages to support the jury verdict.

D. Conclusion

For the reasons stated above, the Court finds that Defendant Olympia Aviations [sic]
Renewed Motion for Directed Verdict, Motion for JNOV, Motion for Remittitur and Motion for

New Trial is DENIED.

IV. ANALYSIS—PLAINTIFF’S MOTION FOR ATTORNEY FEES
Plaintiff filed a motion for attorney fees, costs, and interest. She also filed a supplemental
brief and a motion to strike one of Defendant’s pleadings. Defendant docs not contest that Plaintiff
is entitled to some amount of attorncy fees; however, Defendant does contest the reasonableness of
the amount Plaintiffrequests. The Court shall now analyze Plaintiff's motion for attorney fees.
A. Whether attorney fees are appropriate

The basic rule regarding the costs of litigation is that, absent statutory authorization or an

 

‘Defendant makes other arguments regarding the remitittur of Plaintiff's award of
economic damages. For instance, Defendant argues that Plaintiff is barred from recovering
economic damages because she licd on her job application. But, these arguments are meritless.
The Court is only addressing this argument because it is the strongest.

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established exception, cach party bears his or her own costs of litigation. See Big Yank Corp. v.
Liberty Mut. Fire Ins. Co., 125 F.3d 308, 313 (6th Cir, 1997), In the present instance, the Elliott-
Larsen Civil Rights Act provides statutory authority for awarding attorney fecs and costs.’
1. Elfiott-Larsen Civil Rights Act

The ELCRA allows the Court to award Plaintiff the costs of her litigation, providing: “A
court, in rendering a judgment in an action brought pursuant to this article, may award all or a
portion of the costs of litigation, including reasonable attorney fees and witness fees, to the
complainant in the action ifthe court determines that the award is appropriate.” MICH. Comp. LAWS
§ 37,2802. The Michigan Court of Appeals has held that § 37.2802 involves two separate inquirics;
first, the Court must determine whether to award attorney fees to a successful plaintiff; second, if
attorney fees are awarded, they must be reasonable in amount under Wood v. Detroit Automobile
Inter-Ins. Exchange, 413 Mich. 573, 588, 321 N.W.2d 653 (1982). See Zide v. Kelsey-Hayes Co.,
154 Mich. App. 142, 161-62, 397 N.W.2d 532, 541(1986) rev'd on other grounds, 431 Mich. 26,
427 N.W.2d 488. Thus, the threshold question of whether to award attorney fees at all is within the
diserction of the Court. See Bide, 154 Mich. App. at 161-62, 397 N.W.2d at 541. Although the
Court is not required to award fees to a prevailing plaintiff, the Court should be mindful of the
following three purposes behind awarding attorney fees in civil rights actions: to encourage people

who were deprived of their civil rights to seek redress; to ensure that victims have access to the

 

? Although Plaintiff is also entitled to reasonable attorney fees as part of the Michigan fee
shifting mediation sanction scheme used by this Court under Local Rule 16.3, Plaintiff
acknowledges that she is only entitled to a single “reasonable fee.” See Rafferty v. Markovitz,
461 Mich. 265, 272-73, 602 N.W.2d 367 (Mich. 1999) (holding that once a plaintiff is
compensated for her reasonable attorneys’ fecs under the ELCRA, she has no remaining “actual
costs” for which she can claim compensation under the mediation court rule).

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courts; and to deter discrimination. See Meyer v. City of Center Line, 242 Mich, App. 560, 575-

76,619 N.W.2d 182, 191 (2000). Plaintiffargues that attorney feces would be appropriate in this case
because if she was not awarded attorney fees, then she would not be made whole as a significant
portion of her judgment would go to pay her attorneys, Plaintiff also argues that making a plaintiff
whole is the primary purpose behind civil rights law. See Rasheed v. Chrysler Corp., 445 Mich. 109,
119-20, 517 N.W.2d 19, 25 (1994). Accordingly, the Court finds that an award of rcasonable
attorney fees under the ELCRA is appropriate in this matter.

B. Whether the Attorney Fees Requested are Reasonable

The ELCRA states that Plaintiff is entitled to recover only “reasonable” attorney fees.
Plaintiff requests an award of attorney fees in the amount of $181,276.25.> Defendant argues that
a significant portion of Plaintiff's requested attorncy fees are unreasonable. The Court shall now
analyze the reasonableness of Plaintiffs requested attorney fees.

1. Standard

When determining a reasonable amount of attorney fees, the Court shall apply the “lodestar”
method, which multiplies a reasonable hourly rate by a reasonable number of hours billed. See
Gisbrecht v. Barnhart, 535 U.S. 789, 797-98 (2002). In determining the reasonable number of
hours, the Court should exclude hours that were not reasonably expended, such as excessive,
redundant, or otherwise unnecessary hours. See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).
“The product of reasonable hours times a reasonable rate docs not end the inquiry. There remain

other considerations that may lead the district court to adjust the fee upward or downward... .” Jd,

 

*This amount, as well as all subsequent amounts and calculations, includes the amount of
time and costs that are reported in the Supplement to Plaintiff's Motion for Attorneys’ Fees,
Costs and Interest.
 

 

at 434,4

Specifically, the Michigan Supreme Court has announced anon-exhaustive list of'six factors
to be considered in adjusting an attorney fee award upward or downward under the ELCRA: 1) the
professional standing and experience of the attorncy; 2) the skill, time, and labor involved; 3) the
amount in question and the results achieved; 4) the difficulty of the case; 5) the expenses incurred;
and 6) the nature and length of the professional relationship with the client. See Wood, 413 Mich.
at 588. Federal courts apply Wood when considering a motion for attorney fees under the ELRCA.
See Brocklehurst v. PPG Indust., Inc., 907 F, Supp. 1106, 1108 (E.D. Mich. 1995) (recognizing that
the factors put forth in Wood apply after the basic entitlement to attorney fees has been established).
Another factor recognized by Michigan courts as useful in determining a reasonable fee is the
existence of a contingent fee arrangement. See Wilson v. General Motors Corp., 183 Mich. App.
21, 454 N.W.2d 405 (1990) (“We agree with the defendant that the circuit judge should have
considered the contingency fec arrangement when determining a rcasonable fee but disagree that this
would automatically preclude a fee award under § 802.”) The Court shall apply these principles
currently.

2. “Lodestar” Calculation

As stated by the United States Supreme Court, the first step is to multiply the number of
hours billed by the hourly rate; this will be the number from which the Court will begin its analysis.
In this case, that number is $181,276.25. According to Plaintiff, $33,480.00 is attributable to work

performed by Kcith Kecskes and Paul Miller, while $147,796.25 is attributable to work performed

 

“Federal law and state law are largely consistent on this topic. Compare Hamlin y.
Charter Township of Flint, 165 F.3d 426, 437 (6th Cir.1999) (citing Hensiey, 461 U.S. at 430
n.3) with Wood v. Detroit Auto. Inter-Insurance Exch., 321 N.W.2¢ 653, 661 (Mich, 1982).

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by Deborah L. Gordon’s firm. Of the $181,276.25 that Plaintiff secks in her motion, Defendant

objected to $88,902.50 of that amount; conversely, Defendant does not make specific objections as
to $92,373.75,
3. Reasonableness

The Court shall now determine whether the hours billed by Plaintiffs attorneys are
reasonable on their face and can be included in the lodestar calculation, The Court finds that the
amount of attorney fees that Defendant has not objected to are not unreasonable on their face. In
particular, the Court notes that Defendant docs not object to most of the expenses incurred by Mr.
Keeskes and Mr. Miller; most of the expenses that they incurred came as a result of discovery,
performing research, and writing briefs, The Court also notes that Ms. Gordon and her associates
spent a significant amount of time preparing for and taking the depositions of a number of the
baseball players, preparing for trial, and then spending timc in trial. In addition, the Court also finds
that the hourly rates charged by Plaintiff's attorneys were reasonable; for instance, although Ms.
Gordon charges a rather high hourly rate, $275 per hour, the Court finds that such a rate is reasonable
because she is an experienced employment law specialist. The Court also finds the rates charged by
Ms. Gordon’s associates, as well as the rates charged by Mr. Keeskes and Mr. Miller, to be
reasonable. Therefore, the Court finds that the hours spent incurring $99,022.50 worth of fees are
not unreasonable on their face. The Court does find persuasive, however, some of Defendant’s
specific objections regarding additional hours billed by Plaintiff's attorneys. Because these hours
billed were either redundant or unnecessary, they are unreasonable on their face and cannot be
included in the initial lodestar calculation. See Hensley, 461 U.S. at 434. The Court will now

address Defendant’s objections.

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Petition for costs: Defendant points out that Plaintiff's counsel took 21.6 hours to prepare

her petition for costs, which is currently under review. Defendant argues that such an amount of time
is unrcasonable because Plaintiff's counsel has made at least some similar petitions before. This is
not a meritorious objection; the preparation of such a petition requires a lawyer to corral the facts
of the case, the amount of time billed, as well as the amount of time necessary to actually create the
petition. Indeed, this Court has spent roughly twenty-one hours reviewing the briefs that were filed
regarding Plaintiffs motion for costs, researching the issucs, and creating this Opinion and Order.
Therefore, this objection is meritless,

Trial Brief: During trial, the Court had the partics submit a trial brief. Plaintiff submitted a
three page bricf. Plaintiffs attorneys, however, billed 43.9 hours in the creation of that brief.
Plaintiff's explanation is that a number of different briefs were drafted in anticipation of different
arguments that Defendant would possibly raise during trial. Although the Court understands
Plaintiff's position, it notes that Plaintiffbegan creating her trial bricfs before trial began, and before
the Court ordered a single trial brief. Therefore, the Court finds only those hours billed after trial
actually began on February 4, 2003 to be reasonable. Accordingly, the Court only finds reasonable
those hours billed on February 4, February 5, and February 7, 2003, which is 24.2 hours, for a total
of $4,745.00; this amount is $3,285.00 less than the $8,030.00 that Plaintiff had originally
requested,

Motion to Amend: Shortly after Ms. Gordon began representing Plaintiff, Plaintiff filed a
motion to amend her complaint. This motion was made several months after the Court issued its
Junc 13, 2002, Opinion and Order. The Court found this motion to be filed very late in the action,

as it was filed after discovery cut-off and after the Court ruled on a motion for summary judgment,

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and that the motion to amend was effectively a belated motion for reconsideration. As a result, the
Court denied this motion. Because this was not a successful motion, the Court will not award
Plaintiffthe attorney fecs that were incurred in drafting this motion. Defendant asserts that Plaintiff
is requesting $11,206.25 in connection with her motion to amend. After reviewing the documents
submitted, the Court agrees with Defendant’s assertion. Therefore, the hours spent drafting the
motion to amend her complaint are not reasonable for the purpose of calculating the lodestar amount.

Deposition of Doug Brocail: Defendant notes that Ms. Gordon billed 1.7 hours for preparing
and “taking” Mr. Brocail’s deposition. Defendant also notes that the deposition was taken by Mr.
Kecskes, and that the deposition actually took onc hour and fourteen minutes. Plaintiff, however,
argues that while Ms. Gordon did not take Mr. Brocail’s deposition, she did attend. The Court finds
Defendant’s argument persuasive. Ms. Gordon’s attendance created billable time that was
“redundant” of Mr. Kecskes’s billable time spent taking the deposition. Therefore, the 1.7 hours
for “taking” Mr. Brocail’s deposition shall not be used to calculate the lodestar amount.

Motions in Limine: the depositions of the bascball players and the former manager of the
Detroit Tigers, Mr. Phil Garner, were taken on video tape so that the depositions may be shown to
the jury. Defendant filed anumber of motions in limine to redact certain questions and answers from
the video tapes. Defendant argues that the time Plaintiffspent in responding to Defendant’s motions
in limine is unreasonable, The Court disagrees. Defendant’s motions in limine were voluminous
and exhaustive, objecting to large portions of the depositions. The Court decided to dispose of
Defendant’s motions by an oral order, as opposed to a written order, in order to save itself a good
deal of time; otherwise, the Court would have likely taken several days to produce a written order

disposing of Defendant’s motions in limince. Thus, the Court cannot say that the amount of time that

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Plaintiff spent in responding to these motions was unreasonable.

Chronology: Defendant argues that Plaintiffs attorneys spent an excessive amount of
time—53.15 hours—preparing and reviewing a chronology of this action, Ms, Gordon and her law
firm only entered this action after Mr. Kecskes performed most of the discovery. This made it
necessary for Plaintiff's new counsel to review all of the depositions that were already taken, and
picce together the facts of the case for their own understanding. This time only became necessary
because Plaintiffhired a new counsel after this action had been in progress for well over a ycar; thus,
there were a number of redundant hours involved, as the new counsel had to learn what Plaintiff's
previous counsel had alrcady known. Indeed, the only reason these hours were incurred was because
Plaintiff decided to hire a new attorney. Consequently, the Court finds that these attorney fees were
not reasonably incurred, and accordingly, these hours will not be used in the lodestar calculation.

Random Hours for Ms. Hayes: Defendant argues that Ms. Hayes spent a number of “random
hours” working with a group called “Litigation Specialists,” and that such unspecified amounts were
unreasonably incurred. Plaintiff, however, points out that “Litigation Specialists” created the “story
boards” that both Plaintiff and Defendant uscd at trial, and it is reasonable to expect that the
organization creating such story boards would want to consult its client to ensure that such boards
are accurate. Thus, the Court finds Defendant’s objection to be meritless.

Random Time for Ms. Sande: Defendant also argucs that Ms. Sande spent some time
researching a potential claim for intentional infliction of emotional distress against the bascball
players because they directly harassed Plaintiff. While the Court had wondered why Plaintiff did not
name the individual baseball players as defendants, Plaintiff's attorney did not research this issue

until January 2003, which is several months after the Court denied Plaintiff's carly motion to amend

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her complaint, and only a few weeks before trial began, Consequently, the Court does not find these

hours to be reasonably expended.

Motion for Remand: Plaintiff filed a motion to remand, which the Court denied. Defendant
objects to $997.50 worth of attorney fees that Plaintiff incurred while presenting this motion. As
with the motion to amend, the Court shall not award Plaintiff the attorney fees associated with this
motion because it was an unsuccessful motion. Therefore, hours spent drafting this motion shall not
be used in the lodestar calculation.

Story Boards: Defendant argues that the roughly twenty hours that Plaintiffs attorneys billed
in connection with the creation of the story boards is unreasonable, especially because these boards
were created by an outside consultant group. The Court disagrees; it is reasonable to expect that
Plaintiff's counsel would work closcly with the group that created these boards for Plaintiff in order
to ensure their accuracy, and to ensure that the boards have their desired appearance.

Trial Exhibits: Defendant objects to the 5.6 hours that Plaintiffs counsel billed in creating
Plaintiff's trial exhibits, especially in light of the fact that Plaintiffonly introduced three exhibits into
evidence. The Court finds the amount of time expended to be reasonable; Plaintiff's counsel needed
to sift through the documents to find which exhibits would advance Plaintiffs claims. Given the
number of documents produced in this case, the Court does not find this amount of time to be
unreasonable.

Plaintiff's Medical Records and History: Defendant argues that Plaintiffs attorneys spent
an unreasonable amount of time reviewing Plaintiff's medical history and records, especially in light
of the fact that Plaintiffreferred to none of her medical history in testifying about her damages. The

Court notes that Plaintiff's medical history has been an issuc throughout this litigation, and that it

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was quite reasonable for Plaintiffs counscl to assume that Plaintiff's medical history would be an

issue that Defendant would cross-examine Plaintiff on at trial. Therefore, Plaintiff's counsel would
need to be familiar with Plaintiff's medical history in order to refute Defendant’s cross-cxamination.
Therefore, this request is not unreasonable.

Plaintiff's Proposed Voir Dire: Defendant states that the amount of time Plaintiff spent
proposing questions for voir dire was unreasonable given the limited number of questions asked
during voir dire. Plaintiffs counsel, however, only spent 5.5 hours preparing for voir dire, which
the Court does not find to be excessive.

Trial, Defendant argues that trial was in session from only 8:30 until 1:00 every day,
however, Ms. Gordon billed her client much more than four and a half hours of time in “trial” on
some occasions, While the Court agrees that Ms. Gordon could not spend more than four and a half
hours a day in trial, the Court docs not doubt that Ms. Gordon probably spent several hours at her
office working on trial-related matters. Therefore, the Court finds that while Ms. Gordon’s entry on
her log is inaccurately labeled, the Court cannot say that the number of hours spent were
unrcasonable.

Media: Defendant argues that Plaintiffis claiming attorney fecs for the amount of time her
attorney spent with the media. Plaintiff concedes that this is not a properly billed expense, and
agrees to withdraw her claim for $262.50 that her attorneys incurred in dealing with the media.

Keeskes & Miller: Defendant argues that $6,200.00 in attorney fees that were incurred by Mr.
Keeskes and Mr. Miller are unreasonable. Defendant does not specify their objection, other than to
note that Mr. Keeskes spent forty hours in responding to Defendant’s motion for summary judgment.

The Court finds that taking forty hours to file a response to a motion for summary judgment to be

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completely reasonable; in fact, the Court took more than forty hours to draft its June 13, 2002,

Opinion and Order.

Final Pre-Trial Order: Defendant argues that Plaintiff's attorncys billed 11.2 hours in
ercating the final pre-trial order, however, the order was only cight pages long, and only four pages
were created by Plaintiff. The Court, however, finds this length of time to be rcasonable.

Plaintiff's Motion for Reconsideration: Defendant argues that $6,648.75 in attorncy fees that
were incurred by Deborah Gordon and Carol Laughbaum are unreasonable. Specifically, Defendant
claims that 31.5 hours in reviewing this Court’s June 3, 2003, Opinion and Order, drafting a
successful Motion for Reconsideration, and drafting a supplemental motion for attorney fees is
unreasonable. The Court, however, finds the length of time to be reasonable.

Accordingly, considering Plaintiff's evidence regarding hours billed and Defendant’s
objections to those same hours, the Court finds that, as an initial matter, only $159, 644.75 of the
$181,276.25 can be properly considered a reasonable lodestar calculation. The number of hours
eliminated were simply unreasonable on their face and cannot be considered in the lodestar
calculation. In addition, the Court finds that a further reduction in attorney fees is warranted upon
consideration of the factors set forth in Wood.

4, Additional factors affecting the reasonableness of the fee award

A trial court is required to consider the following six factors in determining areasonable fee
award: 1) the professional standing and experience of the attorncy; 2) the skill, time, and labor
involved; 3) the amount in question and the results achieved; 4) the difficulty of the case; 5) the
expenses incurred; and 6) the nature and length of the professional relationship with the client. See

Wood, 413 Mich. at 588. These factors will determine the departure, if any, from the lodestar

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amount. See Riethmiller v, Blue Cross & Blue Shield, 151 Mich. App. 188, 203, 390 N.W.2d 227,

234 (1986) (holding that trial court did not abuse its discretion when it awarded the plaintiff half of
his attorney fees after its consideration of the Wood factors).

Some of the factors put forth in Wood support Plaintiff's motion for attorney fees. For
instance, the Court recognizes that Ms. Gordon is an experienced employment law specialist. The
Court also recognizes that a significant amount of skill, time, and labor was involved in pursuing this
casc. The Court finds, however, that othcr important factors support a reduction in the amount of
attorncy {ces awarded to Plaintiff.

Under federal and state law, an important factor in determining a reasonable fee award is “the
amount in question and the results achieved.” Wood, 413 Mich, at 588. Plaintiff argues that since
the ultimate verdict exceeded the $25,000.00 case cvaluation award, the result was “very good.”
Plaintiff's Brief in Support of Motion for Attorneys’ Fees, Costs and Interest, at 10. While a jury
verdict of $200,000.00 is not insubstantial, Defendant correctly points out that this case began with
six counts against five different defendants. Thus, Plaintiff was unsuccessful on six counts against
four defendants and unsuccessful on five counts against the remaining Defendant. In Hensley, the
Supreme Court held that the degree of a plaintiff's success is a “crucial” factor in determining a
proper award of attorney fees under § 1988. See Hensley, 461 U.S, 424, 440. While Plaintiff's
claims of retaliation, sex discrimination, and intentional infliction of emotional distress may have
been sufficiently related to Plaintiffs successful claim of sexual harassment to be preclude a
downward adjustment of the fee award based on the ultimate failure of those claims, the remaining
two claims are not so related. See Hensley, 461 U.S. at 434-35. Plaintiffs claims of defamation and

tortious interference with business expectation are based on different facts and Icgal theories and are

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unrelated to the sexual harassment claim. See id. Therefore, the Court finds that because Plaintiff

was unsuccessful on at Icast two separate and distinct claims against the Defendants in this case, her
attorney fee award under the ELCRA should be reduced. See e.g., Scales v, J.C. Bradford and Co.,
925 F.2d 901, 909-10 (1991) (holding that the proper reduction in plaintiffs fee award was fifty
percent given that plaintiff was unsuccessful on half of her claims).

Another important factor is the “difficulty of the case.” Wood, 413 Mich. at 588. The Court
finds nothing particularly difficult about this case. Plaintiffargues that the case was difficult because
it was contentious, because Defendant refused to settle, and because the owners of Defendant
corporation are “high profile.” The Court finds these arguments to be meritless. Litigation is
contentious by nature and Defendant’s refusal to settle can hardly be considered a factor increasing
the difficulty of the case. Plaintiff also provides no evidence that the “high profile” nature of
Defendant’s owners increased its difficulty. The Michigan Court of Appeals has held that a
plaintiff's fee award should be reduced based on the routine nature of the case. See Collister v.
Sunshine Food Stores, Inc., 166 Mich, App. 272, 274-75, 419 N.W.2d 781 (1988) (noting that the
plaintiffdid not “compile statistical evidence or present complicated proofs” and that the plaintiff's
case “did not involve an advancement of the case law ...”), Accordingly, the Court finds nothing
particularly difficult about the present case to support Plaintiffs claim for attorney fees.

The final factor that supports a reduced fee award in this case is the fact that Plaintiff has
contracted with her attorneys on a contingency fee basis. Thus, Plaintiffs attorneys stand to gain
from Plaintiffs casc whether attorney fees are awarded or not, The Court finds the existence of the
contingent fee arrangement in this case to be merely one additional factor supporting an overall

reduction in Plaintiff's fee award, See Wilson, 183 Mich. App. at 41-42, 454 N.W.2d at 415.

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Accordingly, considering these above factors, the Court finds it necessary to further reduce

the lodestar calculation from $159,644.75 to $92,373.75. The Court finds $92,373.75 to be a
reasonable fee award in light of the partics’ arguments and the factors set forth in Wood.

Cc. Conclusion

The Court concludes that Plaintiff's reasonably incurred attorneys fees amount to $92,373.75.
Defendant is HEREBY ORDERED to pay Plaintiff these reasonably incurred attorncy fees. In
addition, the Court HEREBY ORDERS Defendant to pay $12,995.82 in costs.> Finally, Defendant
is HEREBY ORDERED to pay pre-judgment interest and post-judgment interest to Plaintiff
pursuant to MicH, Comp. Laws § 600.6013. Because this action is not one for personal injury,
Defendant is not required to pay pre-judgment interest on awards for future damages. See Phinney

v, Permutter, 222 Mich. App. 513, 540-542, 564 N.W.2d 532, 549-550 (1997).

V. ANALYSIS - PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S
SUPPLEMENTAL BRIEF

Plaintiff objects to Defendant filing a short pleading directing the Court to rule on issues
regarding remittitur that were not addresscd in this Court’s June 3, 2003, Opinion and Order. Since
Defendant’s Renewed Motion for Directed Verdict, Motion for NOV and Motion for Remitter [sic]

and Motion for New Trial has been denied, Plaintiff's motion to strike is DENIED as moot.

 

Defendant objects to a $150.00 fee that Mr. Kecskes incurred as a result of his filing his
case evaluation summary in an untimely manner. Plaintiff did not respond to this objection.
Therefore, the Court shall reduce the amount of costs incurred by this amount.

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VI. CONCLUSION

For the reasons set forth above, Defendant Olympia Aviations [sic] Renewed Motion for
Directed Verdict, Motion for JNOV and Motion for Remitter [sic] and Motion for New Trial is
DENIED; Plaintiff's motion for Attorncys’ Fees, Costs and Interest is GRANTED IN PART, and
Plaintiff's Motion to Strike Defendants’ [sic] Untimely “Second Supplemental Brief” in Support
of its Post Trial Motions is DENIED.

IT IS SO ORDERED.

oma, 12 SEP 2003 Fi /) $id

LAWREN . ZATKOFF
CHIEF ‘ED STATES DISTRICT JUDGE

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